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From:            Howell, David
To:              Huff, Heather
Subject:         RE: Disapproved form 3
Date:            Wednesday, December 12, 2018 2:38:00 PM


Talked to the Chief. He will resubmit and we will approve.
From: Huff, Heather <Heather.Huff@atf.gov>
Sent: Wednesday, December 12, 2018 1:49 PM
To: Howell, David <David.Howell@atf.gov>
Cc: Siviero, Shannon D. <Shannon.Siviero@atf.gov>
Subject: FW: Disapproved form 3
David,
See the e-mail we just received.
Heather N. Huff
Firearms and Explosives Services Specialist
NFA Division- Government Support Branch
(304) 616-4500 NFAD Main Line
Martinsburg, WV
From: Adair Police <adairpolice113@gmail.com>
Sent: Wednesday, December 12, 2018 1:42 PM
To: Huff, Heather <Heather.Huff@atf.gov>; Siviero, Shannon D. <Shannon.Siviero@atf.gov>; NFAFax
<NFAFax@atf.gov>
Subject: Disapproved form 3
Hello this is Chief of Police Bradley Wendt from the Adair Police Department. I have
requested a Demo from Marcum MFG LLC. A form 3 was submitted and disapproved
on December 11th 2018. Control number 201963064. I was called to verify the law
enforcement demonstration letter. Which I did verify that it was authentic and signed
by me. After reviewing the disapproval reason I believe that the examiner greatly
misrepresented my words. I would also like to say that the examiner that called me,
was speaking in a fashion to cause confusion on my end. And also stated that the law
enforcement letter was potentially fake. The examiner did not want to provide to me
the exact weapon that was being requested for transfer. I told them that we have
written a few letters over the last few months and needed clarification to verify. It is
impossible to verify information , if you're unwilling to provide the information needed
to clarify the validity of something. Another thing I don't understand The Examiner
does not like that we have an intent to possibly purchase and an intent to familiarize
ourselves with a weapon. One of the points of a demonstration is to familiarize
yourself with a weapon. The lack of logic on this understanding amazes me! Another
thing they state is the dealer has a similar model in their inventory. That is irrelevant!
We have requested specific models, not models that are similar! I would like to have
this form approved! Attached is the transfer form along with our law enforcement
letter. We have also attached the disapproved form for your review.
I would also like an official written response of what you plan to do on this transfer
sent to me.
Chief of Police Bradley Wendt
515-229-8583
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Brad Wendt
Chief of Police
City of Adair
(641) 742-3751



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